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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9        IN RE:                                          CASE NO. C20-0282-JCC
          WYZE DATA INCIDENT LITIGATION
10
                                                          MINUTE ORDER
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15            The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17            This matter comes before the Court sua sponte. On April 17, 2000, the Court granted the
18   parties’ motion to consolidate this action with Adams v. Wyze Labs, Inc., Case No. C20-0370-
19   JCC (W.D. Wash. 2020). (Dkt. No. 19.) The Court administratively terminated Case No.
20   C20-0370-JCC on that date. No further filings should have been made to Case No. C20-0370-
21   JCC, yet Defendant later filed its consolidated motion to dismiss in both case numbers. The
22   Court granted dismissal and issued judgment October 26, 2020. (Dkt. No. 49.) The Clerk is
23   DIRECTED to terminate all outstanding motions in Case No. C20-0370-JCC. There should be
24   no further filings in that case.
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26   //


     MINUTE ORDER
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 1        DATED this 9th day of November 2020.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Paula McNabb
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                                                 Deputy Clerk
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